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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

John Doe,                                    :
                                             :       Case No. 2:16-cv-00171
               Plaintiff,                    :
                                             :       Judge George C. Smith
       v.                                    :
                                             :       Magistrate Chelsey M. Vascura
The Ohio State University,                   :
                                             :
               Defendant.                    :

                            MEMORANDUM IN OPPOSITION TO
                            MOTION FOR PROTECTIVE ORDER

       Third Party Molly Brown filed a motion seeking a protective order following receipt of

notification from Defendant, the Ohio State University that her Title IX file would be produced

in this case. (ECF No. 103.) It is not entirely clear if Ms. Brown is seeking a protective order

preventing OSU from producing the file relating to her Title IX investigation at all or simply

asking the Court to enter a protective order requiring that the documents remain confidential.

Regardless, the Court has already addressed both issues and there is no further relief available to

Ms. Brown.

       First, on October 15, 2018, the Court ordered OSU produce relevant files relating to

investigations at OSU into other Title IX matters of similarly situated students, which includes

Ms. Brown’s file. (ECF No. 99.) The Court ruled that neither FERPA nor alleged burden of OSU

prevented disclosure of the relevant comparative case files. (Id., pp. 7-9.) Notably, OSU did not

object to the relevancy of the documents. Thus, the issue of whether Ms. Brown’s file is relevant

and discoverable has been addressed by the Court.

       Second, the Court’s Order requires OSU to produce the documents pursuant to the

Stipulated Protective Order (ECF No. 54), which protects the documents from being made public
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and limits the use of the documents to the litigation, and to designate each document containing a

student’s identifying information as “CONFIDENTIAL—SUBJECT TO PROTECTIVE

ORDER.” (ECF No. 99, p. 9.) Thus, the relief Ms. Brown requests is already in place. The Court

has taken appropriate action to protect Ms. Brown’s privacy and shield her from harm and

embarrassment. As the Court explained, consent of Ms. Brown is not required for production of

the documents because (1) it is court-ordered, and (2) subject to a protective order. (Id.)

       Accordingly, the Court should deny Ms. Brown’s Motion for a Protective Order because

it is unnecessary. All parties and the Court agree Ms. Brown’s Title IX record is relevant and

discoverable, that FERPA does not prevent disclosure of the records, and that the records will be

produced pursuant to the Stipulated Protective Order governing production and use of documents

containing confidential and personal information.


                                              Respectfully submitted,

                                              /s/ Tracy L. Turner____________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of February, 2019 I: (1) filed the foregoing with the

Clerk of Court, who will send notification to all counsel via the Court’s electronic filing system;

and (2) sent a copy of the foregoing by e-mail to counsel for non-party Molly Brown, Kandra

Roberts, J.D., LAV Attorney, Ohio Alliance to End Sexual Violence, 5 E. Long St. Suite 500,

Columbus, Ohio 43215, kroberts@oaesv.org.

                                                     /s/ Tracy L. Turner
                                                     Tracy L. Turner




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